Case 3:12-cr-00171-TJC-MCR Document 26 Filed 01/18/13 Page 1 of 1 PageID 40



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   vs.                                                       CASE NO. 3:12-cr-171-J-32MCR

   RONALD E. ROBINSON


                              REPORT AND RECOMMENDATION1
                               CONCERNING PLEA OF GUILTY

          The defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R.

   Crim. P. and Rule 6.01(c)(12), M. D. Fla. Rules, and has entered a plea of guilty to Count

   One of the Indictment. After cautioning and examining the defendant under oath concerning

   each of the subjects mentioned in Rule 11, I determined that the guilty plea was

   knowledgeable and voluntary, and that the offense charged is supported by an independent

   basis in fact containing each of the essential elements of such offense.            I therefore

   recommend that the plea of guilty be accepted and that the defendant be adjudged guilty and

   have sentence imposed accordingly.

          DONE AND ENTERED at Jacksonville, Florida, this 16th day of January, 2013.




   Copies to:
   Honorable Timothy J. Corrigan
   United States District Judge
   Marielena Diaz, Courtroom Deputy
   Assistant United States Attorney (Taylor)
   Roland Falcon, Esq.
   United States Probation



          1
         The parties have agreed to waive the fourteen (14) day objection period to this Report and
   Recommendation. 28 U.S.C. § 636(b)(1)(B), Rule 6.02, M.D. Fla. Rules.
